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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN MEDICAL ASSOCIATION,
 et al.,

                    Plaintiffs,

           v.                                         No. 1:21-cv-03231-RJL

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                    Defendants.


      REPLY IN SUPPORT OF MOTION TO ESTABLISH BRIEFING SCHEDULE

       The Plaintiffs initially recited that they “seek relief by March 1, 2022—the approximate

date arbitrations under the rule are scheduled to begin[.]” ECF No. 3 at 2. Their calculations were

off by over a month, as the Defendants explained in their motion to set a briefing schedule, ECF

No. 13, and as the Plaintiffs apparently now do not dispute. They instead switch course to contend

that immediate briefing is needed to address the “leverage” that insurers are attempting to apply in

pricing negotiations, based (apparently) on those insurers’ predictions as to how arbitrations will

play out in the future. Whatever relief the Plaintiffs might gain if they were ultimately to prevail

on the merits, there is no reason whatsoever to believe that insurers (non-parties to this litigation)

would stop attempting to exert “leverage” if a temporary stay were to be ordered during the short

period until this Court is able to render a merits decision.

       And, most tellingly, the Plaintiffs offer no reason whatsoever to believe that these non-

parties’ “leverage” would be affected in any way if the Defendants were to file their brief on

January 24 (as the Defendants have proposed) rather than January 6. The Defendants accordingly

respectfully request the Court to enter their proposed briefing schedule.


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Dated: December 15, 2021           Respectfully submitted,

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